                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              BRYSON CITY DIVISION

 UNITED STATES OF AMERICA,                          )
                      Plaintiff,                    )
                                                    )
 vs.                                                )     CASE NO. DNCW2:13CR13-1
                                                    )     (Financial Litigation Unit)
 JASON DEWAYNE SMITH                                )
                                Defendant,          )
                                                    )
 and                                                )
                                                    )
 EASTERN BAND OF CHEROKEE INDIANS,                  )
                     Garnishee.                     )


              DISMISSAL OF ORDER OF CONTINUING GARNISHMENT

        Upon motion of the United States for the reasons stated therein and for good cause shown,

it is ORDERED that the Order of Continuing Garnishment filed in this case against Defendant

Jason Dewayne Smith is DISMISSED.




                                         Signed: November 23, 2016




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